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            Frequently asked questions
   Learn about life at St Matthew's University
              School of Medicine




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      Home       FAQ



        What makes St. Matthew's University unique among Caribbean
        medicine schools?

        St. Matthew’s School of Medicine offers quality education with unmatched student support
        services on a beautiful, safe, modern island. We maintain small class sizes that have a maximum
        of 50 students and have the lowest tuition of any similarly recognized Caribbean medical school.

        Our Basic Science campus is on Grand Cayman which is only an hour ﬂight from Miami. Students
        spend ﬁve semesters on the island completing Basic Science classes with highly credentialed
                           ABOUT
        and experienced faculty.        MD
                                 Our small   PROGRAM
                                           class           STUDENTfaculty
                                                 sizes and dedicated EXPERIENCE        ADMISSIONS
                                                                          ensure that our students
        receive an unprecedented level of support.
                                                      NEWS     EVENTS      COVID-19       CONTACT US        
dent
 sumer                                                     Inquire today           Apply Now
rmation
       Our graduates are placed in outstanding residency programs, including recent placements at
       the Mayo Clinic, Brown University, theCourse
                                              UniversityAdmissions
                                                         of Florida, Johns Hopkins, and Duke University.

        Our state-of-the-art campus is located on Grand Cayman, which boasts one of the highest per
        capita incomes in the world. The island is modern and has an economy similar of that of the U.S.
        which allows students to easily assimilate into the lifestyle of the island. Grand Cayman has one
        of the lowest crime rates of any country in the Caribbean, and the local residents are hospitable
        and inviting.

        St. Matthew's University is just steps away from the famous Seven Mile Beach. Students can
        literally walk out of their class for a quick swim, snorkel, sunset volleyball game, or even to study
        on the beach.




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Are St. Matthew's University graduates easily able to obtain residency
positions and practice medicine in the United States?

Yes. St. Matthew's University graduates are eligible to practice medicine in the United States once
they pass the requisite licensing examinations. More than a thousand of our graduates are licensed
and practicing or in residency in the United States.


How is St Matthew's University accredited?

The accrediting body for St Matthew's University is the Accreditation Commission on Colleges of
Medicine (ACCM). The United States Department of Education recognizes the ACCM as using
accrediting standards similar to the accrediting body for medical schools in the United States.

St. Matthew's University is one of only a small number of non-U.S. medical schools to be approved in
both New York and Florida. The Government of the Cayman Islands, British West Indies has fully
chartered St. Matthew's University.




            FAQs about Academics and Curriculum


  Can you explain your semester/program breakdown?



  What is the USMLE pass rate?



  Does St. Matthew's University have shelf exams?



  As a Canadian St. Matthew's University graduate, will I be allowed to practice or
  conduct residency in Canada?



  Where are the clinical clerkship sites?



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Class size



What is the student to teacher ratio at St. Matthew's University School of
Medicine?



Is there a specialty focus at St. Matthew's?



Is there research conducted on the St. Matthew's University campus?



What tests will I need to take to get licensed in the U.S.?


In order to be licensed and practice medicine in the United States, the
Educational Commission for Foreign Medical Graduates (ECFMG) requires
students to take and pass the United States Medical Licensing
Examination (USMLE).

St. Matthew's University students and graduates are eligible to sit for these exams. The USMLE
has three steps, two of which are taken by students while in medical school. Students must
take and pass USMLE Step 1 prior to beginning the Clinical Sciences curriculum. USMLE Step 2
Clinical Skills (Step 2 CS) and Step 2 Clinical Knowledge (Step 2 CK) are taken prior to
graduation. Step 3 of the USMLE, the ﬁnal step for licensing, is taken after graduation, during,
or at the conclusion of residency training.




                        FAQs About Admissions


Can I transfer to St. Matthew's University from another medical program?




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What is your MCAT Policy?



How many times may students take the MCAT exam?



Is there an application deadline?



How long does it take to process an application?



How can I ﬁnd out my application status?



May I still apply if I am missing coursework?



Does it matter where I take my undergraduate courses?



Do you have a supplemental application process, such as through AMCAS?



Do I need a Bachelor's degree to apply?



What is the Admission Committee looking for in letters of recommendation?



Does an advisor have to write a letter of recommendation?



Do you accept applicants over 30 years of age?




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Who is interviewed?



Are scholarships available?




    FAQs About Life at St. Matthew's University


What Student support services exist on the Grand Cayman campus?



What is the make up of your student body?



What about schooling for my child(ren)?



What about taking my family or a companion to The Cayman Islands?



What must I do to bring a pet with me to The Cayman Islands?



How is housing arranged for incoming students?



How is apartment living in The Cayman Islands?



Is it easy to travel to and from The Cayman Islands?




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What language is spoken on The Cayman Islands?



What is the weather like on The Cayman Islands?



What is the accepted currency in The Cayman Islands?



What banking services are available?



Are there ATMs?



What kind of transportation is available on The Cayman Islands?



Can I bring any meat (including seafood) to the Cayman Islands?



What do our students say about us?




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                                     12124 High Tech Ave. Ste. 290,                           News
                                            Orlando, FL 32817
                                                                                        Employment
                                                EMAIL:
                                                                                            Downloads
                                            admissions@stmatthews.edu
                                                SMS: +1 (857) 341-                          Contact us
                                            1470                                             Sitemap
                                                PHONE: +1 800 498              Student consumer information
                                            9700
                                                                                        Privacy Policy

                                     Grand Cayman Campus Address
                                      Lime Tree Bay Ave, West Bay,
                                             Cayman Islands




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